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                            UNITED STATES DISTRICT COURT
                                 District of Minnesota


David Elgersma,                                          JUDGMENT IN A CIVIL CASE
                                 Plaintiff(s),
v.                                                       Case Number: 21cv1792 (KMM/DJF)
City of St. Paul, et al.,

                                 Defendant(s).


☒ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☐ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     The issues have been tried and a decision has been rendered. The jury awarded
     compensatory damages in the amount of $1,000 and punitive damages in the amount of
     $28,500 to Plaintiff.



      Date: 9/15/2023                                         KATE M. FOGARTY, CLERK



                                                           s/Katherine M. Menendez
                                                           Katherine M. Menendez
                                                           United States District Judge
